
Turley, J.
delivered the opinion of the court.
The only question presented for consideration in this case is, whether an action of debt will lie by an endorsee against his immediate endorser; it has been argued with much skill and ability, that it will, and such no doubt are the modern English authorities, and those of some ¿four sister States. But the reverse is the current of the decisions of the State of Tennessee, although the question has never been directly determined.
It is a matter of but little importance, whether the action of debt be allowed in such cases or not, as the action on the case is as easy and speedy a remedy as that of debt; and we feel that it is more consonant, not only with our decisions but also our institutions, that the action of debt should not be allowed in such cases.
We, therefore, affirm the judgment of the Circuit Court.
